                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               EASTERN DIVISION


BAIRD STOKES,                               )
                                            )
                     Appellant,             )       JUDGMENT IN A CIVIL CASE
                                            )       CASE NO. 4:22-CV-66-BO
       v.                                   )
                                            )
                                            )
BELHAVEN SHIPYARD AND                       )
MARINA, INC., and WILLIAM AXSON             )
SMITH, JR.,                                 )
                                            )
                                            )
                     Appellee.              )



Decision by Court.

IT IS ORDERED, ADJUDGED, AND DECREED that in accordance with the court’s order
entered June 9, 2023, that the decision of the bankruptcy court is AFFIRMED.

This Judgment Filed and Entered on June 9, 2023, and Copies To:
Edwin M. Hardy       (via CM/ECF electronic notification)
Ciara L. Rogers      (via CM/ECF electronic notification)




DATE:                                      PETER A. MOORE, JR., CLERK
June 9, 2023                        (By) /s/ Stephanie Mann
                                            Deputy Clerk




            Case 4:22-cv-00066-BO Document 20 Filed 06/09/23 Page 1 of 1
